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TED STATES DISTRICT COURT
FOR THE WESTERN DlSTRICT GF NORTH CAROLINAIY l .,:‘"..":_
CHARLOTTE DIVISION

Civil Action No. 3:01 CV 426 » MCK ii . …. (_ .
CARLA W. KEZIAH,
Plaintiff,
v. ANSWER
DUKE ENERGY CORP., f/k/a DUKE
POWER CO., and DUKE ENGINEERING
SERVICES, INC.,

Defendant.

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Defendants Duke Energy Corporation (“DEC”) and Duke Engineering & Services, lnc.

(“DES”), answering the Complaint of Plaintiff Carla W. Keziah (“Keziah”), say and allege:

FIRST DEFENSE

l. Defendants deny the allegations in paragraph 1 of the Complaint.

2. Defendants admit that this Court has subject matter jurisdiction over claims
arising under the Fair Labor Standards Act, 29 U.S.C. §§ 201, e_t W. (the “FLSA”) and pendent
jurisdiction over claims arising under the North Carolina Wage and Hour Act, N.C.G.S. §§ 95~
25.1 e_t §1. (the “WHA”). Except as admitted Defendants deny the allegations in paragraph 2 of

the Complaint.

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3. Upon information and belief Defendants admit the allegations in paragraph 3 of
the Complaint.

4. Defendants admit that Plaintiff is an employee of Defendant DES within the
meaning of 29 U.S.C. § 203(e) and N.C.G.S. § 95-25.2(4). Except as admitted Defendants deny
the allegations in paragraph 4 of the Complaint.

5. Defendants admit the allegations in paragraph 5 of the Complaint.

6. Defendants admit the allegations in paragraph 6 of the Complaint.

7. Defendants admit that they are engaged in interstate commerce and they are
employers within the meaning of 29 U.S.C. § 203(d) and N.C.G.S. § 95-25.2(5). Except as
admitted Defendants deny the allegations on paragraph 7 of the Complaint.

8. Defendants admit that they are enterprises engaged in commerce or in the
production of goods for commerce within the meaning of 29 U.S.C. § 203(s)(l) and that Plaintiff
is engaged in commerce in connection with her employment with DES. Except as admitted
Defendants deny the allegations in paragraph 8 of the Complaint.

9. Defendants deny the allegations in paragraph 9 of the Complaint.

lO. Defendants admit that Plaintiff was hired by DEC on October 30, 1974, that she
has been employed by DES as an eddy current data analyst since August l, 1992 and that she has
received performance ratings of satisfactory or better during that time. Except as admitted

Defendants deny the allegations in paragraph 10 of the Complaint.

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11. Defendants admit that during her employment with DES Plaintiff worked more
than forty (40) hours in some workweeks and was not paid at a rate of one and one-half times her
regular rate of pay for the hours worked in excess of forty. Except as admitted Defendants deny
the allegations in paragraph ll of the Complaint.

12. Defendants deny the allegations in paragraph 12 of the Complaint.

13. Defendants deny the allegations in paragraph 13 of the Complaint.

14. Defendants lack sufficient information to form a belief as to the truth of the
allegations in paragraph 14 for the Complaint and therefore deny the same.

15. Defendants admit that during 2000 the United States Department of Labor, Wage
and Hour Division (“DOL”) conducted a compliance investigation at DES and that DOL
contended that DES had violated the FLSA concerning overtime compensation for Plaintiff and
certain other employees Except as admitted Defendants deny the allegations in paragraph 15 of
the Complaint.

16. Defendants admit that on March 30, 2001 DES issued a check to Plaintiff in the
gross amount of $6,523.12, less standard withholdings Except as admitted Defendants deny the
allegations in paragraph 16 of the Complaint.

17. Defendants lack sufficient information to form a belief as to the truth of the

allegations in paragraph 17 of the Complaint and therefore deny the same.

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18. Defendants admit that DES has included the gross amount of the March 30, 2001
check issued to Plaintiff in calculating her 2001 earnings Except as admitted Defendants deny
the allegations in paragraph 18 of the Complaint.

19. Defendants deny the allegations in paragraph 19 of the Complaint.

20. Defendants admit that Plaintiff was placed on standby status effective
May 21, 2001 and that while on standby status she has been paid $7.00 per hour for forty (40)
hours per workweek. Except as admitted Defendants deny the allegations in paragraph 20 of the
Complaint.

21. Defendants restate and incorporate by reference their responses in paragraphs 1
through 20.

22. Defendants deny the allegations in paragraph 22 of the Complaint.

23. Defendants deny the allegations in paragraph 23 of the Complaint.

24. Defendants restate and incorporate by reference their responses in paragraphs 1
through 23.

25. Defendants deny the allegations in paragraph 25 of the Complaint.

26. Defendants deny the allegations in paragraph 26 of the Complaint.

27. Defendants restate and incorporate by reference their responses in paragraphs 1
through 26.

28. Defendants deny the allegations in paragraph 28 of the Complaint.

29. Defendants deny the allegations in paragraph 29 of the Complaint.

30. Defendants deny the allegations in paragraph 30 of the Complaint.

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31. Defendants deny the allegations in paragraph 31 of the Complaint.

SECOND DEFENSE

Plaintiff’s Complaint should be dismissed to the extent that it fails to state a claim against

Defendants upon which relief can be granted by this Court.

THIRD DEFENSE

Plaintift’s Complaint should be dismissed to the extent that she failed to comply with any
applicable administrative procedures and/or other prerequisites for institution of a suit under the

FLSA and/or the WHA.

FOURTH DEFENSE

Plaintift’s claims should be dismissed to the extent that she failed to exhaust any

applicable administrative remedies which may be available to her under the FLSA and/or the

WHA.

FIFTH DEFENSE

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Plaintift’ s claims are barred by the applicable statute(s) of limitations to the extent that
those claims are predicated in whole or in part upon events occurring outside the relevant
period(s) of limitations

SIXTH DEFENSE

Plaintift’s claims for punitive damages are limited by and subject to the applicable

provisions of the Constitution of the United States and the North Carolina Constitution.

SEVENTH DEFENSE

Plaintiff’s claims for punitive damages are limited by and subject to the applicable

provisions of North Ca:rolina General Statutes § D-l e_t Lq.

EIGHTH DEFENSE

Plaintiff’s claims for compensatory damages are barred in whole or in part because she

has failed to exercise a reasonable diligence to mitigate her damages

NINTH DEFENSE

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Plaintiff’ s claims are barred to the extent that the doctrines of unclean hands, estoppel,

latches and/or waiver or applicable to the facts of this case.

TENTH DEFENSE

Plaintiff’s claims are barred to the extent that the doctrines of accord and satisfaction

and/or payment are applicable to the facts of this case.

ELEVENTH DEFENSE

 

Plaintiff’s claims against DEC are barred to the extent that there was no

employer/employee relationship between them.

TWELFTH DEFENSE

Plaintiff’ s claims against DEC are barred to the extent that DEC was not an employer of

Plaintiff within the meaning of 29 U.S.C. § 203(d) and N.C.G.S. § 95-25.2(5).

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THIRTEENTH DEFENSE

 

Plaintiffs claims arising under the WHA are barred to the extent that they are preempted
by the FLSA.

FOURTEENTH DEFENSE

 

Plaintiff’ s claims of unlawful retaliation are barred to the extent that Defendants would
have taken the same action(s) in the absence of any activity by Plaintiff which may have been

protected under the FLSA and/or the WHA.

FIFTEENTH DEFENSE

 

Plaintiff’ s claims of unlale retaliation are barred to the extent that there was no causal
connection between the conduct complained of and any activity by Plaintiff which may have

been protected under the FLSA and/or the WHA.

SIXTEENTH DEFENSE

 

Plaintiff s claims of unlawful retaliation are barred to the extent that the conduct
complained of was undertaken by Defendants in good faith and based upon legitimate, non-

retaliatory reasons.

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SEVENTEENTH DEFENSE

 

Plaintiff’ s claims under the FLSA are barred to the extent that she Was employed in a
bona fide executive, administrative or professional capacity within the meaning of 29 U.S.C. §

iz(a)(i) ofrhe FLSA.

EIGHTEENTH DEFENSE

 

Plaintiff’s claims barred to the extent that her employment qualified for one or more of

the exemptions available under the FLSA.

NINETEENTH DEFENSE

 

Plaintist claims are barred to the extent that the two (2) years statute of limitations
contained in Section 6 of the Portal-to-Portal Pay Act of 1947, 29 U.S.C. § 255, is applicable to

those claims.

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TWENTIETH DEFENSE

 

Plaintiff’s claims for liquidated damages are barred to the extent that the conduct
complained of was undertaken in good faith in accordance with the requirements of Section 11

of the Portal-to-Portal Pay Act of 1947, 29 U.S.C. § 260.

TWENTY-FIRST DEFENSE

 

Plaintiff’s claims for unpaid wages and related damages are barred to the extent that she
failed to report in a timely, accurate and complete manner all of the hours which she actually

worked while employed by DES.

WHEREFORE, Defendants DEC and DES respectfully pray the Court enter a judgment
providing that:

1. Plaintiff’s Complaint be dismissed in its entirety;

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2. Defendants recover their costs incurred in the defense of this action, including
their reasonable attorneys fees; and
3. Defendants be awarded such other and further relief as the Court may deem just

and proper.

This the ‘Ld day of July, 2001.

 

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Ji Stricklin Cox
N. .State Bar No. 20145

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OF COUNSEL:

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date a copy of the foregoing ANSWER Was
served on opposing counsel by depositing a copy of same in the United States Mail, postage

prepaid, and addressed as follows:

Todd W. Cline

Donaldson & Black, P.A.
208 West Wendover Avenue
Greensboro, NC 27401

This the ’LA/J:lély:fluly, 2001.

  

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